          Case 1:23-cr-00050-JMC Document 62 Filed 03/03/23 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 23-CR-0050 (JMC)
                                               :
DILLON PAUL HOMOL,                             :
                                               :
                        Defendant.             :


          JOINT STATUS REPORT AND PROPOSED SCHEDULING ORDER

       The United States of America, by and through the United States Attorney for the District

of Columbia, and counsel for the defendant, DILLON PAUL HOMOL, hereby respectfully

submits this status report and proposed scheduling order to the Court regarding the above-

captioned case.

       A. Background

       The defendant was charged by indictment on February 15, 2023. He made his initial

appearance and was arraigned on the indictment in this Court on February 23, 2023. At that time,

the defendant indicated he wished to waive a jury trial, and the Court set a pre-rial conference and

a bench trial for September 18, 2023. The Court also ordered the parties to file the attached

scheduling order by March 3, 2023, to address motions and other pre-trial deadlines. Time under

the Speedy Trial Act has been excluded until the trial date of September 18, 2023.

       B. Proposed Pre-Trial Deadlines

        1.        The parties shall appear for a Pre-trial Conference on September 18, 2023.

        2.        The parties shall file any pre-trial motions on or before June 2, 2023;

                  oppositions shall be filed on or before June 9, 2023; and replies shall be filed on

                  or before June 16, 2023.

        3.        The United States shall make any required expert disclosures pursuant to
                                                   2
 Case 1:23-cr-00050-JMC Document 62 Filed 03/03/23 Page 2 of 3




      Rule 16(a)(1)(G) by June 16, 2023; any reciprocal expert disclosure by Defendant

      pursuant to Rule 16(b)(1)(C) shall be made by June 16, 2023. Any expert

      disclosures by the United States made in rebuttal to the Defendant’s timely

      expert disclosures shall be made by July 14, 2023.

4.    The United States shall notify Defendant of its intention to introduce any Rule

      404(b) evidence not already disclosed on or before June 16, 2023.

5.    Except where otherwise noted in this Pre-trial Order, motions in limine shall be

      filed on or before August 4, 2023; oppositions shall be filed on or before August

      11, 2022; and replies shall be filed on or before August 18, 2023.

6.    Defendant shall satisfy his reciprocal discovery obligations, if any, under

      Rule 16(b) (except as to experts, as noted above) by August 4, 2023. The court

      will consider any motion in limine with respect to reciprocal discovery after such

      discovery is received.

7.    The Defendant has requested that the United States produce all discovery and

      inspection required by Rule 16. The United States has been and will continue to

      produce the discovery so requested and required. The United States will satisfy

      its discovery obligations under Rule 16 by August 4, 2023.

8.    On or before September 11, 2023, both parties shall file the following:

             a. Witnesses Lists

             b. Exhibit lists

             c. Stipulations

9.    The United States will endeavor to make grand jury and Jencks Act disclosures

      as to each witness it expects to call in its case-in-chief on or September 11, 2023.



                                       3
Case 1:23-cr-00050-JMC Document 62 Filed 03/03/23 Page 3 of 3




     Any Brady material not already disclosed also must be disclosed by this date.



                                 Respectfully submitted,

                                 COUNSEL FOR THE GOVERNMENT

                                 MATTHEW GRAVES
                                 United States Attorney
                                 DC Bar No. 481052

                                 By: /s/ Elizabeth N. Eriksen
                                 ELIZABETH N. ERIKSEN
                                 VA Bar No. 72399
                                 Trial Attorney, Criminal Division
                                 U.S. Department of Justice
                                 Detailed to the U.S. Attorney’s Office
                                 for the District of Columbia
                                 (202) 616-4385
                                 Elizabeth.Eriksen@usdoj.gov

                                 COUNSEL FOR THE DEFENDANT

                                 /s/ James W. Hundley
                                 James W. Hundley
                                 Briglia & Hundley, P.C.
                                 1921 Gallows Road, Suite 750
                                 Tysons Corner, VA 22182
                                 (703) 883-0880
                                 jhundley@brigliahundley.com




                                    4
